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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE; MAKSYM DOE; MARIA
 DOE; ALEJANDRO DOE; ARMANDO DOE;
 ANA DOE; CARLOS DOE; OMAR DOE;
 SANDRA MCANANY; KYLE VARNER;
 WILHEN PIERRE VICTOR; and HAITIAN
 BRIDGE ALLIANCE,

                       Plaintiffs,

        – versus –

 KRISTI NOEM, in her official capacity as            Civil Action No:
 Secretary of Homeland Security; CALEB
 VITELLO, in his official capacity as the Acting
 Director of Immigration and Customs Enforcement;
 PETE R. FLORES, in his official capacity as
 Acting Commissioner of U.S. Customs and Border
 Protection; KIKA SCOTT, in her official capacity
 as the Senior Official Performing the Duties of the
 Director of U.S. Citizenship and Immigration
 Services; and DONALD J. TRUMP, in his official
 capacity as President of the United States,

                       Defendants.



  CLASS ACTION COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.      Ukrainians seeking safety from the Russian invasion of their country; Cubans,

Haitians, Nicaraguans, and Venezuelans all fleeing political instability, persecution, and

environmental disasters; and Afghans who assisted the United States government during its war in

Afghanistan are just a few of the populations that the United States has sought to aid in recent

years by granting eligible individuals parole, on a case-by-case basis, so that they may enter the

country for a temporary period of time and find safety and stability here.



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       2.       The Trump administration, however, has sought not only to terminate those legal

humanitarian pathways to the United States, but to block access to any other longer-term, more

stable legal status for individuals granted humanitarian parole, so that these people have no options

to remain here in safety, to continue contributing to their communities, and to remain with family

members here in the United States.

       3.       This lawsuit challenges the steps the Trump administration has taken to radically

limit what had up to this point been a broad power granted by Congress to allow the executive to

respond to migration challenges, address global humanitarian crises, and further important foreign

policy objectives in a flexible and adaptive way. It also challenges the Trump administration’s

dismantling of legally established and Congressionally authorized pathways to the United States,

including:

       •     Uniting for Ukraine (“U4U”), for Ukrainians displaced by the war with Russia;

       •     the processes for nationals of Cuba, Haiti, Nicaragua, and Venezuela (“CHNV”),
             countries that have been ravaged by natural disasters and/or political strife; and

       •     Operation Allies Welcome (“OAW”), for Afghans fleeing the newly resurgent Taliban.


       4.       In addition, this lawsuit challenges the Trump administration’s attempts to block

individuals paroled through these processes from seeking alternate legal statuses created and

authorized by Congress.

       5.       On January 20, 2025—Inauguration Day—President Trump issued Executive

Order 14165, entitled “Securing Our Borders,” which directed the Secretary of Homeland Security

to terminate all “categorical parole programs,” explicitly referencing the CHNV parole processes.

       6.       Also on that day, Acting Secretary of Homeland Security Benjamine C. Huffman

issued a memorandum entitled “Exercising Appropriate Discretion Under Parole Authority” (the

“January 20 Huffman memorandum”) to the heads of Immigration and Customs Enforcement

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(“ICE”), Customs and Border Protection (“CBP”), and U.S. Citizenship and Immigration Services

(“USCIS”), in which he authorized pausing and terminating “categorical parole programs”

because, in his view, they are “blatantly inconsistent with the statute.” Acting Secretary Huffman

directed all DHS staff to implement the new agency policy under which this historically common

use of the parole authority is unlawful.

        7.      On the basis of Mr. Huffman’s conclusion that parole programs are unlawful, DHS

has stopped considering parole applications through these processes and has otherwise terminated

them.

        8.      Since that termination, through a memorandum issued by Acting Deputy Director

of USCIS Andrew Davidson on February 14, 2025 (the “February 14 Davidson memorandum”),

DHS has also unlawfully suspended the adjudication of all requests for immigration benefits

(including applications for asylum, Temporary Protected Status (“TPS”), or other status

adjustments) for individuals paroled through at least U4U and CHNV based solely on the

“potential” that the “vetting” that they underwent in connection with their parole was not identical

to what was in effect on January 19, 2021—the last day of President Trump’s first term. This so-

called administrative pause may also apply to the OAW process. There is no authority for this

suspension, and it is contrary to the laws Congress enacted governing those immigration benefit

applications.

        9.      At the same time that it has terminated these parole processes for their alleged

illegality and suspended the ability of parolees to obtain forms of immigration relief to which

Congress has made them entitled, DHS has also taken aggressive action—challenged separately—

to make it easier to deport individuals paroled through these processes as quickly as possible.




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       10.     Such actions are not only illegal, but shockingly callous. Plaintiff Svitlana Doe1

fled Ukraine following the Russian invasion and bombing of her town. Her son still requires speech

therapy to overcome the horrors of war her family witnessed. Plaintiffs Maksym and Maria Doe

likewise fled Ukraine, where Maksym heroically helped to rescue over 22,000 Ukrainians and

provided humanitarian assistance to over half a million more. Plaintiffs Alejandro, Armando, Ana,

and Carlos fled Nicaragua following the torture of a family member at the hands of the state and

subsequent political persecution. And Plaintiff Omar Doe—at great risk to himself and to his

family—faithfully served alongside the U.S. military in Afghanistan for over eighteen years before

being evacuated by the military following the country’s fall to the Taliban.

       11.     Each of these individuals trusted that the U.S. government would help protect them

from harm. Each of these individuals waited—even amid active war and persecution—to enter the

United States until they had a legal avenue to enter the country. And each of these individuals has

now been cut off from the immigration relief Congress made available to them.

       12.     Individual Plaintiffs, including Putative Class Representatives on behalf of

themselves and similarly situated persons, and Organizational Plaintiff Haitian Bridge Alliance

(“HBA”), seek a declaration that the U4U, CHNV, and OAW parole processes are lawful; an

injunction prohibiting DHS from continuing to apply its unlawful construction of the parole

statute; and vacatur of agency actions taken pursuant to the agency’s erroneous understanding of

the law.

                                JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331.



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  A motion for leave of the Court for Svitlana Doe, Maksym Doe, Maria Doe, Alejandro Doe,
Armando Doe, Ana Doe, Carlos Doe, and Omar Doe to proceed under pseudonyms is being filed
imminently.
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       14.     Venue is proper in this District because Plaintiffs Svitlana Doe and Wilhen Pierre

Victor reside in this District. See 28 U.S.C. § 1391(e)(1).

                                            PARTIES

       15.     Plaintiff Maksym Doe is a Ukrainian national living in Brooklyn, New York, with

his wife, Maria Doe. After fleeing Kharkiv on the day Russia invaded Ukraine, he and several

partners founded a nonprofit organization in Ukraine that began coordinating volunteer efforts to

evacuate people from the war-stricken eastern part of the country. They rescued over 22,000 people

within the first six months of the war and since then have provided humanitarian assistance to over

a half million Ukrainians. Maksym came to the United States through the U4U parole process in

April 2023. He and his wife have applied for Temporary Protected Status (“TPS”), and he has also

applied for re-parole in September 2024 because his current grant of U4U parole expires in April

2025. Processing these applications has been paused indefinitely due to the February 14 Davidson

memo. If that pause remains in effect, Maksym’s parole will expire, he will lose his work

authorization and his ability to continue his humanitarian work for Ukrainians, and he will be

displaced once again.

       16.     Plaintiff Maria Doe is a Ukrainian national who currently lives with her husband

Maksym in Brooklyn, New York. She and Maksym Doe came to the United States through the

U4U parole process with all their possessions packed into two suitcases. Maria was able to apply

for U4U re-parole and was granted another two years of parole in January 2025, but she has also

applied for Temporary Protected Status and is working with her employer to file an H-1B

employment-based visa application soon. Not only will these applications not be processed due to

the administration’s indefinite hold on processing applications for immigration benefits for parole

beneficiaries, but if her parole expires or the administration prematurely terminates it, she will

once again be displaced.
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       17.     Plaintiff Svitlana Doe is a citizen of Ukraine. Svitlana fled Ukraine in November

2024 following Russia’s unprovoked and unjustified invasion into the country. Svitlana is the

mother to a young boy with celiac disease, for whom care was difficult in Ukraine even before the

war, and close to impossible during wartime. Svitlana, her husband, and her young son narrowly

escaped Ukraine in November 2024, and traveled to the United States pursuant to the U4U parole

process. Svitlana currently lives in Dover, Massachusetts. She has a pending application for TPS

filed in February 2025, which has been indefinitely stalled due to the administration’s pause on

processing immigration benefits applications for U4U parolees.

       18.     Plaintiff Alejandro Doe is a citizen of Nicaragua. Alejandro is the brother of Ana

Doe and currently lives in Gainesville, Georgia. Alejandro fled Nicaragua following the abduction

and torture of his father by the Nicaraguan state. In July 2024, Alejandro entered the United States

through the parole process for Nicaraguans, a component of the CHNV parole processes. He was

sponsored by his cousin, a U.S. citizen who resides in Washington State. Alejandro has a pending

application for asylum, which has been indefinitely stalled due to the Trump administration’s

pause on processing immigration benefits applications for CHNV parolees.

       19.     Plaintiff Armando Doe is a citizen of Nicaragua. Armando is married to Ana Doe

and currently lives in Gainesville, Georgia. Armando fled Nicaragua due to increasing political

repression and danger stemming from the disappearance of Ana’s father by the Nicaraguan

government and Armando’s work at a digital media company dedicated to democratizing

information and documenting government abuses. Armando entered the United States in February

2024, through the CHNV parole process for Nicaraguans. He was sponsored by his wife’s cousin,

a U.S. citizen who resides in Washington state. Armando has a pending application for asylum,




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which has been indefinitely held up due to the Trump administration’s pause on processing

immigration benefits applications for CHNV parolees.

       20.      Plaintiff Ana Doe is a citizen of Nicaragua. Ana is married to Armando Doe and

currently lives in Gainesville, Georgia. She is the sister of Alejandro Doe and cousin of Carlos

Doe. Ana fled Nicaragua due to the increasing instability, political repression, and danger

culminating in her father’s capture and torture by the Nicaraguan government, as well as the danger

her husband Armando faced working for a digital media company targeted by the Nicaraguan

government for the information it published. Ana entered the United States and was granted parole

through the CHNV parole process for Nicaraguans in February 2024. She was sponsored by her

U.S. citizen cousin who resides in Washington state. Ana also has a pending asylum application,

as a derivative under her husband’s pending asylum application, which is indefinitely on hold due

to the Trump administration’s pause on processing immigration benefits applications for CHNV

parolees.

       21.      Plaintiff Carlos Doe is a citizen of Nicaragua. He is the cousin of Ana Doe and

Alejandro Doe, and he currently lives in Gainesville, Georgia. Carlos fled Nicaragua because of

the political instability and the fact that the Nicaraguan government was actively persecuting him

due to his involvement in protests against the government and was issuing death threats against

him and his family. As a result, Carlos went into hiding, where he received more death threats,

rendering it unsafe for him to remain in Nicaragua. Carlos entered the United States and was

granted parole through the CHNV parole process for Nicaraguans in May 2023. He was sponsored

by a U.S. citizen family member. Carlos has a pending application for asylum, which has been

indefinitely held up due to the Trump administration’s pause on processing immigration benefits

applications for CHNV parolees.



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       22.     Plaintiff Omar Doe is an Afghan national living in Omaha, Nebraska. He worked

for over eighteen years in different capacities with the U.S. military in Afghanistan, including as

an interpreter. He and his wife and five children were evacuated to the United States as part of the

U.S. military’s withdrawal from Afghanistan in 2021. His application for a Special Immigrant Visa

has been pending for almost three and a half years. Because his parole and his work authorization

will expire in September 2025, he is also working on filing an asylum application with assistance

from a nonprofit. But none of these applications will be adjudicated if the Trump administration’s

pause on the processing of immigration benefits continues, and Omar fears that he will lose his

legal status and be vulnerable to deportation.

       23.     Plaintiff Sandra McAnany is a U.S. citizen who lives in La Crosse, Wisconsin.

She is driven by her strong Christian faith to serve as the U.S.-based sponsor for seventeen

individuals with active parole status through CHNV—fifteen from Venezuela and two from

Nicaragua. They were all approved for two-year periods of parole, and most have applied for

asylum based on the fears they have of returning to their countries of origin. Sandra has given

much of her time, effort, and money over the last few years supporting her CHNV beneficiaries to

safely travel to the United States, reunite with family members already in the country, and find

work and settle into their communities. Sandra has four pending CHNV applications as well, for

nationals from Cuba, that are paused indefinitely due to the administration’s end to CHNV.

       24.     Plaintiff Kyle Varner is a U.S. citizen and physician who lives in Spokane,

Washington. As a long-committed political activist deeply involved in liberal and libertarian

movements in Venezuela, he is motivated by his strong moral and political convictions to sponsor

seventy-nine individuals through the CHNV parole processes, most of whom are nationals of

Venezuela. Forty-three of his beneficiaries are currently in the United States, and at least twenty-



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nine have pending applications for asylum, TPS, or other immigration relief that are on pause due

to the administration’s policies. Over the last few years, Kyle has put immense amounts of time,

energy, and money into ensuring that his beneficiaries have what they need, both to travel to the

United States and to have a strong footing once they arrived. Kyle also has thirty-two pending

CHNV sponsorship applications, including for a Cuban individual and a Nicaraguan individual,

that are paused indefinitely due to the administration’s end to CHNV.

       25.     Plaintiff Wilhen Pierre Victor is a U.S. citizen and healthcare worker who lives in

Woburn, Massachusetts. She is the CHNV sponsor for her brother, his wife, and their three

children, who are seven, thirteen, and sixteen years old. They arrived in the United States from

Haiti in the summer of 2024 and were granted two-year periods of parole, and they all live with

Wilhen and her two children in Woburn. Wilhen’s application to sponsor her brother for a green

card has been pending since 2007, and he has been waiting since then to have another legal

pathway to come to the United States. CHNV parole has allowed Wilhen to reunite with her brother

for the first time in more than twenty years, and it has allowed Wilhen’s brother to find a job for

the first time in thirteen years. Wilhen also has two pending applications for CHNV sponsorship

of her thirteen-year-old niece (her brother’s child) and her fifty-year-old cousin, who experience

ongoing threats of extreme violence in Haiti, that are paused indefinitely due to the

administration’s end to CHNV.

       26.     Plaintiff Haitian Bridge Alliance (“HBA”) is a Haitian-led, Haitian Creole-

speaking grassroots and community-based nonprofit organization incorporated in California. HBA

was formed in early 2016 to meet the needs of an influx of Haitian and other Black migrants that

came to the U.S.-Mexico border seeking humanitarian protection as conditions in their home

countries deteriorated. HBA’s core organizational activities have included, since the inception of



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the CHNV parole process for Haiti, providing direct services and support to thousands of CHNV

sponsors and parolees from Haiti. These services include legal consultations for CHNV parolees,

assistance completing CHNV sponsorship applications, humanitarian and integration support, and

other aid. Defendants’ termination of the CHNV parole processes and suspension of processing

immigration benefit applications filed by CHNV parolees have directly interfered with these core

activities.

        27.    Defendant Kristi Noem is sued in her official capacity as the Secretary of the U.S.

Department of Homeland Security (“DHS”), a position to which she was confirmed by the Senate

on January 25, 2025. Until she was confirmed, Benjamine C. Huffman served as the Acting

Secretary of Homeland Security from the time when President Trump appointed him to that

position on January 20, 2025.

        28.    Defendant Caleb Vitello is sued in his official capacity as the Acting Director of

Immigration and Customs Enforcement (“ICE”), a component agency of DHS. Mr. Vitello has

been the Acting Director of ICE since January 20, 2025, when he was appointed to that position

by President Trump. Mr. Vitello was reportedly “reassigned” to a different role on or about

February 21, 2025, due to President Trump’s frustration that ICE had not arrested more immigrants

in the first few weeks of his second term, but to date, ICE still lists him as its Acting Director on

its website.

        29.    Defendant Pete R. Flores is sued in his official capacity as the Acting

Commissioner of Customs and Border Protection (“CBP”), a component agency of DHS. Mr.

Flores has been the Acting Commissioner of CBP since January 20, 2025, when he was appointed

to that position by President Trump.




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       30.     Defendant Kika Scott is sued in her official capacity as the Senior Official

Performing the Duties of the Director of U.S. Citizenship and Immigration Services (“USCIS”), a

component agency of DHS. According to USCIS’s website, Ms. Scott has been in this position

since February 9, even though it was previously and widely reported that Andrew Davidson, the

Acting Deputy Director of USCIS, would become the Acting Director of USCIS on that same date

via appointment by President Trump.

       31.     Defendant Donald J. Trump is sued in his official capacity as the President of the

United States. He was inaugurated on January 20, 2025.

                                        BACKGROUND

                                The Statutory Parole Authority

       32.     Parole is a temporary form of permission for a noncitizen to be in the United States.

Parole does not itself lead to any other form of immigration status, although while here on parole,

nothing prevents parolees from applying for any other immigration status for which they are

eligible. Many parole recipients have applied for asylum pursuant to 8 U.S.C. § 1158, temporary

protected status pursuant to 8 U.S.C. § 1254a, or other forms of status adjustments. Under

longstanding regulations, many parolees can apply for employment authorization.

       33.     Section 212(d)(5)(A) of the Immigration and Nationality Act (“INA”), 8 U.S.C. §

1182(d)(5)(A), states that “the Attorney General may, except as provided in subparagraph (B) or

in section 1184(f) of this title, in his discretion parole into the United States temporarily under

such conditions as he may prescribe only on a case-by-case basis for urgent humanitarian reasons

or significant public benefit any alien applying for admission to the United States.”

       34.     Congress has never defined “case-by-case,” “urgent humanitarian reasons,” or

“significant public benefit,” or delineated with further specificity the circumstances under which



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the Executive may grant parole, apart from what is encompassed by the clause, “except as provided

in subparagraph (B) or in section 1184(f) of this title,” discussed more below.

       35.     The executive’s authority to parole individuals into the country was originally

codified in Section 212(d)(5) of the 1952 INA, which established that “[t]he Attorney General may

in his discretion parole into the United States temporarily under such conditions as he may

prescribe for emergent reasons or for reasons deemed strictly in the public interest any alien

applying for admission to the United States.”

       36.     Congress did not define the terms “emergent” or “public interest” and did not

modify the wording of the parole provision until 1980.

       37.     Between 1952 and 1980, lacking a permanent statutory provision specifically

providing for the entry of refugees, the Executive frequently used the parole authority to facilitate

the entry of refugees in a programmatic manner—i.e., by defining a group, typically by nationality

plus additional factors, whose entry could be justified by emergent or public interest reasons, with

applications of individuals therein considered on a case-by-case basis.

       38.     The first such use was in 1956, when President Dwight D. Eisenhower directed the

Attorney General to parole into the country approximately 30,000 Hungarian refugees who had

fled during that country’s revolution.

       39.     There is no comprehensive accounting of “programmatic” or “categorical” uses of

parole, but in the approximately seventy years since this original such use by the Eisenhower

Administration, there have been at least another 125 categorical parole programs, usually with

multiple parole programs operating at the same time throughout that period, and during every

single Administration, including the first Trump Administration.




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        40.      In 1980, Congress passed the Refugee Act, which established for the first time a

specific, permanent legal process to admit people to the United States as refugees.

        41.      In passing the Refugee Act, and in recognition of the fact that refugees now had a

unique legal pathway to the United States, Congress added a restriction to the parole authority,

codified in subparagraph (B), 8 U.S.C. § 1182(d)(5)(B), prohibiting the Attorney General from

paroling a refugee into the United States “unless the Attorney General determines that compelling

reasons in the public interest with respect to that particular alien require that the alien be paroled

into the United States rather than be admitted as a refugee.”

        42.      The conference report adopted by both chambers accompanying the final

legislation explained that § 1182(d)(5)(B) “does not affect the Attorney General’s authority under

section 212(d)(5) of the Immigration and Nationality Act to parole aliens who are not deemed to

be refugees.”

        43.      Similarly, since it was enacted, the federal officials exercising the parole authority

have consistently interpreted § 1182(d)(5)(B)’s restriction as applying only to noncitizens who

have already been determined by the U.S. government to be refugees.

        44.      Congress next amended the parole statute in 1990 to prohibit granting parole to

noncitizens to perform certain work aboard a vessel or aircraft on an air carrier during a labor

dispute where there is a strike or lockout unless the parole “is necessary to protect the national

security of the United States.” Pub. L. No. 101-649, § 202, 104 Stat. 4978, 5014 (1990) (codified

at 8 U.S.C. § 1184(f)); see also 8 U.S.C. § 1182(d)(5)(A) (authorizing parole “except as provided

. . . in section 1184(f) of this title.”).

        45.      Congress last amended the parole authority in the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 (“IIRIRA”).



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       46.     IIRIRA made just one textual change to the parole statute, striking from

§ 1182(d)(5)(A) the language allowing the Attorney General to grant parole “under such conditions

as he may prescribe for emergent reasons or for reasons deemed strictly in the public interest” and

replacing it with language allowing the Attorney General to grant parole “under such conditions

as he may prescribe only on a case-by-case basis for urgent humanitarian reasons or significant

public benefit.”

       47.     In addition to that textual change to the parole statute, IIRIRA contained three other

provisions related to exercises of the parole authority. In one, Congress required that the Attorney

General annually report to the Judiciary Committee of each chamber the “number and categories

of [noncitizens] paroled into the United States.”

       48.     In another section of IIRIRA, Congress directed that parolees who had been in the

United States at least a year and had not become lawful permanent residents must be counted

against per-country numerical caps on family-sponsored immigration.

       49.     Finally, IIRIRA also directed the Attorney General to give green cards to Polish

and Hungarian noncitizens who had been paroled into the United States through a categorical

parole program that operated over a roughly two-year period ending at the end of 1991.

       50.     As Congress worked on the legislation that eventually became IIRIRA, the House

Judiciary Committee criticized the “categorical” use of parole and asserted that such use of the

parole authority was ultra vires. It therefore proposed to narrow the substantive grounds on which

parole could be granted to specify that the only “humanitarian reason” that parole could be granted

involved medical emergencies, and the only “public benefit” that would warrant parole involved

assisting U.S. law enforcement.




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       51.      Before the bill was brought to the House floor, however, the Judiciary Committee’s

language restricting parole was removed, and the legislation that ultimately was signed into law as

IIRIRA left undefined the substantive criteria on which parole could be granted.

       52.      Since the 1996 passage of IIRIRA, both Republican and Democratic

administrations have created and administered parole programs to allow the parole of individuals

within broadly defined classes, for example:

       •     Cuban and Haitian beneficiaries of approved family-based immigration petitions
             awaiting visas (2007-17; 2021-present);

       •     Haitian children orphaned by the 2010 earthquake in that country (2010);

       •     Cuban medical professionals in third countries conscripted by the Cuban government
             (2006-2017);

       •     Chinese and Russian nationals seeking to visit the Commonwealth of the Northern
             Mariana Islands and Guam for business or pleasure (2009-19);

       •     family members of U.S. military service members (2007-present);

       •     minor children from El Salvador, Guatemala, and Honduras with family in the United
             States (2014-17; 2021-present); and

       •     family members of Filipino World War II veterans (2016-present).


       53.      Consistent with ratifying the view that categorical parole was authorized, both

before and after the passage of IIRIRA—and in addition to in IIRIRA itself, as discussed above

regarding Polish and Hungarian parolees—Congress has repeatedly passed legislation extending

various benefits and services to individuals who obtained parole via a “categorical” parole process,

in some cases making benefits available prospectively to individuals who would in the future be

paroled pursuant to such processes. For instance, most recently, Congress enacted legislation

extending resettlement support services (normally provided only to refugees) to Ukrainians




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paroled under U4U and Afghans paroled under OAW, for the duration of their period of parole

and any re-parole.

        54.         The parole authority has enabled administrations to serve urgent humanitarian

needs and advance the significant public benefit of promoting the national interest through

achieving humanitarian, human rights, anti-trafficking, foreign policy, and regional security

goals, among others.

                                      Uniting for Ukraine (“U4U”)

        55.         On February 24, 2022, Russia invaded Ukraine, beginning a war that continues to

this day.

        56.         In the weeks following Russia’s invasion, thousands of Ukrainians traveled to

Mexico and presented themselves at U.S. ports of entry to request humanitarian protection, as is

their right under international and U.S. law. See, e.g., 8 U.S.C. § 1158(a)(1) (“Any [noncitizen]

who is physically present in the United States or who arrives in the United States (whether or not

at a designated port of arrival . . . ), irrespective of such [noncitizen’s] status, may apply for

asylum . . . .”).

        57.         At its peak, CBP encountered up to 1,300 Ukrainians per day along the southern

border; that surge strained its operations and required diverting personnel to increase processing

capacity.

        58.         Most Ukrainians who arrived at the southern border during this period—some

20,000 people—were paroled into the country, due at least in part to a lack of detention space.

Most received an initial grant of one year of parole.

        59.         Every Administration, including the first Trump Administration, has used parole in

this way to process applicants for admission, particularly when there is a lack of detention space.



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       60.     In response to this surge of Ukrainians at the border and the accompanying strain

on CBP, President Biden announced in March and April 2022 a variety of humanitarian

commitments to the Ukrainian people, including establishing the Uniting for Ukraine parole

process. See Implementation of the Uniting for Ukraine Parole Process, 87 Fed. Reg. 25040 (Apr.

17, 2022). The Federal Register Notice for the U4U parole process cites destruction to civilian

infrastructure, ongoing concerns about food security, a lack of medicine and health supplies,

rampant sexual exploitation and abuse, continuing violence, and large-scale displacements of

Ukrainians as reasons for the establishment of the parole process.

       61.     Uniting for Ukraine is a process by which Ukrainians who have a U.S.-based

sponsor committed to providing for their financial support can apply to be considered, on a case-

by-case basis, for a grant of parole, typically for two years.

       62.     U4U was created so that eligible Ukrainians could request consideration for parole

without having to travel to Mexico and present at the southern border, which can be dangerous for

the individuals and further strains CBP resources.

       63.     Permitting Ukrainians to apply in advance also benefitted the U.S. government by

making it possible to conduct security checks on the individuals before they travel.

       64.     Uniting for Ukraine applicants who meet the eligibility requirements, pass security

checks, and warrant a favorable exercise of discretion are granted authorization to travel directly

(via flight) to the United States, where they are inspected and undergo further security checks

before CBP makes the final determination of whether to grant parole.

       65.     There is no fee associated with initial applications for parole under Uniting for

Ukraine, but applicants must comply with all pre-travel requirements—including public health




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requirements—at no cost to the United States and likewise must pay for and arrange their own

travel.

          66.   Once approved to travel to the United States, prospective U4U parolees fly directly

to an airport in the interior of the United States, which avoids the disorderly process at the border—

and concomitant impact on border communities and states—that was otherwise occurring because

of Russia’s invasion of Ukraine.

          67.   Like the U4U parolees, potential U4U sponsors undergo security checks; they also

must prove their own lawful status and that they have sufficient financial resources to receive,

maintain, and support the intended beneficiaries for the duration of their parole period.

          68.   In February 2024, USCIS announced the process by which U4U parolees could

apply for re-parole, once they had less than six months left on their initial grant of parole. In

addition to meeting other eligibility requirements, applicants for re-parole under U4U had to pay

a fee or obtain a waiver of fees.

          69.   Per legislation enacted by Congress in May 2022 and April 2024, Ukrainians

paroled into the United States between February 24, 2022, and September 30, 2024, are entitled to

resettlement support services provided to refugees brought to the United States through the U.S.

Refugee Admissions Program—the same services to which OAW parolees are entitled, as

discussed below—for the duration of their period of parole and any re-parole.

          70.   From fiscal year 2022 to fiscal year 2023, the number of Ukrainians encountered

by CBP at the southern border dropped by more than ninety-nine percent. There were even fewer

encounters in fiscal year 2024 than in fiscal year 2023.




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          71.     Most U4U parolees have claims to other forms of immigration relief that would

permit them to stay in the United States permanently, including family-based immigration visas

and TPS.

          72.     These paths to permanent immigration status for U4U parolees, however, generally

take years to navigate due to how long it takes the Defendant agencies to process the immigration

benefit applications.

          73.     Currently, Ukrainians who have continuously resided in the United States since

August 16, 2023 (which would include some U4U parolees) are eligible for Temporary Protected

Status (“TPS”), which generally protects recipients from removal. TPS for Ukrainians is currently

set to expire (if not extended) on October 20, 2026.

          74.     As of the third anniversary of Russia’s invasion of Ukraine, approximately 7

million Ukrainians remain externally displaced. Approximately 200,000 of them are in United

States by way of parole. Most Ukrainians here on parole had some preexisting tie to the United

States (such as family), which is why they came here for refuge when they fled their home country.

                Parole Processes for Cuba, Haiti, Nicaragua, & Venezuela (“CHNV”)

          75.     Over the last several years, a significant number of Cubans, Haitians, Nicaraguans,

and Venezuelans have been displaced due to natural disasters, economic hardship, and political

strife.

          76.     Today, there are approximately eleven million displaced nationals of those four

countries, most of them Venezuelan; twenty percent of Venezuela's population is displaced.

          77.     Due to events internal to each country, emigration from these four countries

accelerated remarkably from 2020 to 2022.

          78.     Per its data, CBP encountered at the southern border fewer than 18,000 nationals

from Cuba, Haiti, Nicaragua, and Venezuela combined in fiscal year 2020.
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       79.     Per its data, CBP encountered at the southern border more than 181,000 nationals

from Cuba, Haiti, Nicaragua, and Venezuela combined in fiscal year 2021.

       80.     Per its data, CBP encountered at the southern border more than 600,000 nationals

from Cuba, Haiti, Nicaragua, and Venezuela combined in fiscal year 2022—comprising more than

forty percent of all migrants CBP encountered at the border that year.

       81.     The marked increase in the number of nationals of these four countries arriving at

the southern border put considerable strain on CBP operations, causing it to divert resources and

to provide sub-standard care to those migrants.

       82.     As with the Ukrainians coming to the southern border discussed above, many (if

not most) of the Cubans, Haitians, Nicaraguans, and Venezuelans who came to the border during

this period were paroled into the United States.

       83.     In October 2022, the Biden Administration created a parole process for

Venezuelans. DHS, Implementation of a Parole Process for Venezuelans, 87 Fed. Reg. 63507

(Oct. 19, 2022). Approximately two months later, and in light of the success of the Venezuelan

parole process, the Biden Administration expanded the parole process for Venezuelans, DHS,

Implementation of Changes to the Parole Process for Venezuelans, 88 Fed. Reg. 1279 (Jan. 9,

2023); and created similar parole processes for nationals of Cuba, Haiti, and Nicaragua, DHS,

Implementation of a Parole Process for Cubans, 88 Fed. Reg. 1266 (Jan. 9, 2023); DHS,

Implementation of a Parole Process for Haitians, 88 Fed. Reg. 1243 (Jan. 9, 2023); DHS,

Implementation of a Parole Process for Nicaraguans, 88 Fed. Reg. 1255 (Jan. 9, 2023).

       84.     These Cuban, Haitian, Nicaraguan, and Venezuelan (“CHNV”) parole processes

were explicitly modeled on the Uniting for Ukraine parole process; like U4U, the rigorous

application processes for CHNV parole required passing security checks, having a U.S.-based



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financial supporter with lawful status who has proven their ability to remain committed to

providing for the parolee for the duration of their two-year period of parole, and meeting all pre-

travel requirements. The travel itself must be at no cost to the United States.

       85.     DHS explained in creating the CHNV parole processes that the processes provide

significant public benefits by improving vetting for national security and public safety, reducing

the strain on CBP resources and personnel, and minimizing the impact on the United States of

irregular migration from these countries.

       86.     DHS also explained that the parole processes address urgent humanitarian concerns

by offering a safe and legal pathway out of dangerous conditions in these four countries as an

alternative to the perilous overland journey to the U.S. border.

       87.     The United States-Mexico border is the world’s deadliest land migration route.

According to the International Organization for Migration, more than 800 people died attempting

to cross the U.S.-Mexico border in 2021; more than 750 in 2022; more than 730 in 2021; but fewer

than 500 in 2024.

       88.      DHS also explained in creating the CHNV parole processes that they further

important foreign policy objectives, including the collaborative management of migration in the

hemisphere.

       89.     An important aspect of the CHNV parole processes is that Mexico agreed—for the

first time ever—to accept the removal of Cubans, Haitians, Nicaraguans, and Venezuelans who do

not follow the CHNV parole processes, which thereby makes them presumptively ineligible for

asylum in the United States.

       90.     For years, the United States has had difficulty removing nationals of those four

countries because of their home countries’ refusals to accept the deportees.



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       91.     As part of CHNV, Mexico agreed to accept up to 30,000 (combined) deported

nationals of these countries each month.

       92.     The CHNV processes allowed up to 30,000 parolees from the four countries

combined to come to the United States each month.

       93.     The demand for CHNV parole was extraordinary; USCIS received more than 1.5

million applications from potential sponsors in just the first three or four months that the processes

were available.

       94.     Per legislation enacted by Congress, Cubans and Haitians paroled into the United

States are entitled to resettlement support services provided to refugees brought to the United

States through the U.S. Refugee Admissions Program.

       95.     Per the Cuban Adjustment Act, as amended, Cubans paroled into the United States

can become lawful permanent residents after being in the country for a year.

       96.     Per a CBP statement on January 14, 2025, CBP encounters of CHNV nationals

attempting to cross the southern border unlawfully were down ninety-one percent since the CHNV

processes were created.

       97.     Similarly, following a bench trial, Judge Tipton of the Southern District of Texas

held that the State of Texas did not have standing to challenge the CHNV processes because these

processes led to a decrease in Texas’s claimed injuries by reducing the overall number of migrants

from these countries coming to Texas, which was the source of Texas’s claimed injuries.

       98.     Most CHNV parolees have claims to immigration relief that would permit them to

stay in the United States, including family-based immigration visas and asylum.




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       99.     These paths to permanent immigration status for CHNV parolees, however,

generally take years to navigate recently due to how long it takes the defendant agencies to process

the immigration benefit applications.

       100.    For example, although Congress has directed DHS to issue final decisions on

asylum claims within 180 days of receiving each application absent “exceptional circumstances,”

8 U.S.C. § 1158(d)(5)(iii), most asylum applicants are currently waiting years to get an initial

decision.

       101.    Currently, Venezuelans who have continuously resided in the United States since

July 31, 2024 (including some Venezuelans who received parole through CHNV) are eligible for

TPS; approximately 33,600 CHNV parolees from Venezuela have been granted TPS.

       102.    On January 10, 2025, Secretary of Homeland Security Ali Mayorkas extended TPS

for Venezuelans until October 2026, but on January 28, 2025, Secretary Noem purported to vacate

that extension and then, on February 1, 2025, Secretary Noem decided to terminate one of the two

TPS designations for Venezuelans. Secretary Noem’s February 1 decision was based on her

conclusion that the continued presence of the approximately 350,000 Venezuelans with TPS under

that designation is contrary to the national interest of the United States. DHS, Termination of the

October 3, 2023 Designation of Venezuela for Temporary Protected Status, 90 Fed. Reg. 9040

(Feb. 5, 2025). Secretary Noem’s unprecedented vacatur of the TPS extension for Venezuelans is

being separately litigated in multiple cases on the ground (among others) that the TPS statute does

not authorize such actions.

       103.    Currently, Haitians who have continuously resided in the United States since June

3, 2024 (including some Haitians who received parole through CHNV) are eligible for TPS. In

June 2024, Secretary Mayorkas extended TPS for Haitians until February 3, 2026, but on February



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20, 2025, Secretary Noem again acted in an unprecedented fashion by purporting to reduce the

time remaining for Haitian TPS by six months, such that it now expires on August 3, 2025. DHS,

Partial Vacatur of 2024 Temporary Protected Status Decision for Haiti, 90 Fed. Reg. 10511 (Feb.

24, 2025).

       104.    Approximately 600,000 Cubans, Haitians, Nicaraguans, and Venezuelans received

parole through CHNV.

                              Operation Allies Welcome (“OAW”)

       105.    Operation Allies Welcome grew out of the U.S. military’s chaotic 2021 withdrawal

from Afghanistan.

       106.    As Afghanistan’s military and government quickly fell to the Taliban when the U.S.

military withdrew, the U.S. government hastily evacuated approximately 124,000 people from

Afghanistan, mostly on military cargo jets. Evacuees included U.S. citizens and lawful permanent

residents, nationals of allied countries, and Afghans whose lives were at risk due to their service

to the United States (such as interpreters).

       107.    After medical, security, and other screenings in third countries, approximately

75,000 Afghans were eventually brought to the United States on parole through OAW.

       108.    Most OAW parolees were (and remain) eligible for a congressionally-created

Special Immigrant Visa (“SIV”) based on having provided “faithful and valuable service”

employed by or on behalf of the U.S. Government or the International Security Assistance Force

or a successor mission in certain capacities in Afghanistan.

       109.    Many other OAW parolees are eligible for other forms of immigration relief—like

family-based immigrant visas and asylum—that would likewise give them permanent lawful status

in the United States.



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       110.    These paths to permanent immigration status for OAW parolees, however,

generally take years to navigate, due mostly to how long it takes the defendant agencies to process

the immigration benefit applications. The federal government has been subject to a class-wide

injunction against unreasonable delays in adjudicating Afghan SIV applications since early 2020

and a similar class-wide settlement agreement addressing the unreasonable delays in adjudicating

asylum applications of Afghan OAW parolees since September 2023.

       111.    In   September    2021,   Congress    enacted    the   Afghanistan    Supplemental

Appropriations Act, Public Law 117-43. Among other things, it instructed DHS to adjudicate

asylum applications filed by OAW parolees expeditiously, and to issue final decisions within 150

days of receiving each application, absent “exceptional circumstances.”

       112.    That Act also made OAW parolees—including those who had yet to be paroled—

eligible for resettlement support services typically provided to refugees resettled in the United

States through the U.S. Refugee Admissions Program until the later of March 31, 2023, and the

end of their parole term. Those services include cash and medical assistance, employment

preparation, job placement, and English language training. That Act also appropriated

supplemental funds for USCIS and Health and Human Services to carry out these directives.

       113.    To date, approximately 20,000 OAW parolees have been granted asylum; fewer

than 100 parolees’ asylum applications have been denied.

       114.    Currently there are approximately 1,300 OAW parolees with pending asylum

applications; on average, those applications have been pending for more than 600 days.

       115.    Afghans who have continuously resided in the United States since September 20,

2023 (including Afghans brought here through Operation Allies Welcome) are currently eligible

for Temporary Protected Status (“TPS”), which generally protects recipients from removal. Unless



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extended by the Secretary of Homeland Security, however, TPS for Afghans will expire on May

21, 2025.

       116.    In 2023, the federal government determined that “Afghans paroled under Operation

Allies Welcome (“OAW”), or those paroled then subsequently granted Temporary Protected

Status (“TPS”), could request U.S. Government-supported family reunification support for their

spouses and unmarried children under 21 years of age” who remain physically present in

Afghanistan.

       117.    Afghans paroled through OAW were initially given two-year grants of parole.

There was no formal application process for initial grants of parole through OAW, but in June of

2023, DHS announced a re-parole process for OAW parolees, under which they may apply for an

extension of up to two years.

       118.    Globally, approximately 11 million Afghans are currently displaced due to the

conditions in their home country, most of them in Iran (4.5 million) and Pakistan (3.1 million).

Fewer than 50,000 Afghans are in the United States on current grants of parole by virtue of OAW.

                      Summary Termination of U4U, CHNV, and OAW

       119.    During the 2024 presidential campaign, Donald Trump frequently criticized the

aforementioned parole processes, promising as early as November 2023 that he would end them

on “day one” of his second term as President.

       120.    As a candidate and as the current President, Donald Trump has denigrated the

CHNV parolees as “illegal,” notwithstanding their lawful grants of parole.

       121.    On the day he was inaugurated—January 20, 2025—President Trump issued

Executive Order 14165, entitled “Securing Our Borders,” that, among other things, directed the

Secretary of Homeland Security to terminate all so-called “categorical parole programs,”



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specifically naming “the program known as the ‘Processes for Cubans, Haitians, Nicaraguans, and

Venezuelans’” as one the Secretary must terminate.

       122.    In another executive order signed that day—Executive Order 14159, entitled

“Protecting the American People Against Invasion”—President Trump directed the Secretary of

Homeland Security (among others) to “rescind the policy decisions of the previous administration

that led to the increased or continued presence of illegal aliens in the United States,” including

by “[e]nsuring that the parole authority . . . is exercised only on a case-by-case basis in

accordance with the plain language of the statute, and in all circumstances only when an

individual alien demonstrates urgent humanitarian reasons or a significant public benefit

derived from their particular continued presence in the United States arising from such parole.”

       123.    And in yet another order signed that day—Executive Order 14161, entitled

“Protecting the United States from Foreign Terrorists and Other National Security and Public

Safety Threats”—President Trump ordered the Secretary of Homeland Security “to ensure that all

aliens seeking admission to the United States, or who are already in the United States, are vetted

and screened to the maximum degree possible,” which should be “consistent” with the “vetting

and screening standards” that were in effect on January 19, 2021—the last full day of President

Trump’s first term in office.

       124.    Also on January 20, 2025, then-Acting Secretary of Homeland Security Benjamine

C. Huffman issued a memorandum entitled “Exercising Appropriate Discretion Under Parole

Authority” to the heads of ICE, CBP, and USCIS. Upon information and belief, this memorandum

has not yet been made public.




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       125.     In the January 20 Huffman memorandum, the acting secretary authorized pausing

and terminating “categorical parole programs” because, in his view, they are “blatantly

inconsistent with the statute.”

       126.     Although fewer than 800 words, the January 20 Huffman memorandum contains

multiple errors of law beyond its conclusion that parole programs like OAW, U4U, and CHNV

are unlawful.

       127.     For example, in an attempt to equate lawfully present parolees with “illegal aliens,”

the memorandum claims that noncitizens who are paroled into the United States are “inadmissible

aliens,” have been “found inadmissible,” and, after their parole has been terminated, “must be dealt

with in the same manner as any other case for admission to the United States involving an alien

found inadmissible.”

       128.     But that contention—that parolees are necessarily inadmissible—is wrong. The

parole statute allows inadmissible noncitizens to come to the United States, but a grant of parole

does not require or necessarily involve a finding of inadmissibility.

       129.     The January 20 Huffman memorandum also erroneously describes the limitation

on parole enacted as part of the Refugee Act, discussed supra, that is codified at 8 U.S.C. §

1182(d)(5)(B). The memorandum claims that the limitation in § 1182(d)(5)(B) means that “it is

generally unlawful to parole into the United States aliens with pending applications for refugee

status filed abroad” as well as “aliens found to have prima facie asylum claims who are being

allowed into the United States to await adjudication of those claims.”

       130.     This interpretation departs from every prior Administration’s understanding of §

1182(d)(5)(B), which is that it applies to noncitizens who already have been determined to be




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refugees pursuant to the procedures created by the Refugee Act—and not to those who merely

have or could have claims to humanitarian relief.

       131.    This interpretation also departs from past practice. Prior to being paroled into the

country, for example, a significant number of Afghan OAW parolees had pending applications for

refugee status filed abroad. Parole was used because those applications would have taken years to

be adjudicated.

       132.    Even more starkly, every Administration since at least the 1990s, including the first

Trump Administration, has paroled noncitizens found to have prima facie asylum claims into the

United States to await adjudication of those claims. The Supreme Court held that this is a

permissible use of the parole statute in Biden v. Texas, 597 U.S. 785 (2022).

       133.    Acting Secretary Huffman’s memorandum also misrepresents the statutory parole

criteria by adding words that appear nowhere in the statute. Per the statute, parole can be granted

“for urgent humanitarian reasons or significant public benefit,” but the memorandum claims

instead that parole must “either provide[] a significant public benefit to the American public or

permit[] the United States to respond to an urgent humanitarian need.”

       134.    The January 20 Huffman memorandum directed that “all future actions taken by

DHS with regard to the exercise of the parole authority [be] consistent” with the interpretation of

the statute laid out in his memorandum.

       135.    Acting Secretary Huffman ended his memorandum with a hedge, claiming that

“should any court disagree with the interpretation of the parole statute articulated in this

memorandum, I clarify that I am also implementing this policy as a matter of my discretion to

deny parole in any circumstance.”




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       136.    In asserting that he was “also implementing this policy as a matter of my discretion

to deny parole in any circumstance,” Acting Secretary Huffman’s memorandum did not specify

anything that he considered in arriving at the allegedly discretionary decision to impose the parole

policy reflected in his memorandum.

       137.    The January 20 Huffman memorandum relied on an erroneous understanding of the

parole statute regarding both what the statute authorizes and the nature of the Secretary of

Homeland Security’s discretionary authority thereunder.

       138.    Also on January 20, 2025, Acting Commissioner of CBP Pete Flores issued a

memorandum (the “January 20 Flores memorandum”) restricting the CBP personnel authorized to

grant parole and requiring that each parole granted by any CBP official be reported to him and the

Chief of Staff, along with a justification for the grant. The January 20 Flores memorandum

expressly supersedes any prior conflicting guidance.

       139.    Later that same week, then-Acting Director of USCIS Jennifer Higgins issued a

directive (the “January Higgins directive”) prohibiting USCIS staff from making any further

decisions on any request for, among other things, parole or re-parole made through the U4U,

CHNV, OAW, or other named parole processes.

       140.    On January 24, 2025, CBP notified airlines of President Trump’s executive order

to “terminate all categorical parole programs that are contrary to the policies of the United States”

and identified the “impacted programs” as “includ[ing]” U4U, CHNV, and OAW, among others.

CBP warned: “Carriers that transport aliens subject to the Presidential Executive Order may be

subject to a carrier fine for each alien brought to the United States.”




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       141.    Defendants base their actions to terminate the U4U, CHNV, and OAW parole

processes, including by refusing to adjudicate pending applications for parole or re-parole through

these processes, on their erroneous position that the parole processes were and are unlawful.

      Summary Suspension of Adjudicating Parolees’ Immigration Benefits Requests

       142.    During the week of January 20, 2025, in the same directive prohibiting the

adjudication of any request for parole or re-parole made through U4U, CHNV, OAW, or other

named parole processes, then-Acting Director of USCIS Jennifer Higgins also prohibited USCIS

staff from making any decisions on any request for any immigration benefit—e.g., for asylum,

TPS, adjustment of status, a visa, etc.—that would benefit individuals who received parole through

the U4U, CHNV, OAW, or other named parole processes.

       143.    On February 14, 2025, Acting Deputy Director of USCIS Andrew Davidson issued

a memorandum to various USCIS directorates and program offices directing them not to adjudicate

immigration benefit requests filed by noncitizens who are or were paroled into the United States

under U4U; CHNV; family reunification parole processes created in 2023 for nationals of

Colombia, Ecuador, El Salvador, Guatemala, and Honduras; a family reunification parole

processes for Haitians that was created in 2014 and expanded in 2023; and a family reunification

parole process for Cubans that was created in 2007 and expanded in 2023.

       144.    Upon information and belief, the February 14 Davidson memorandum has not yet

been made public. Media reporting on the memorandum explained that because paroled

individuals are only given work authorization and deportation protections that typically last for

two years, many such individuals apply for other immigration benefits, including TPS, asylum,

and green cards—but under the February 14 Davidson memorandum, officials will no longer be

able to process any applications for such programs or any other benefit, if such requests are filed

by migrants who arrived in the United States under the parole processes at issue.
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       145.    The February 14 Davidson memorandum asserted that the suspension of these

individuals’ benefits requests was based on Executive Order 14161 (discussed above) and the

possibility that individuals paroled through these specific processes were not vetted to the

“maximum” extent possible or consistent with the vetting “baseline” in effect on the last full day

of President Trump’s first term, stating: “The procedures that the parolees under these categorical

parole programs underwent may not constitute screening and vetting to the maximum degree

possible or comport with the uniform baseline for screening and vetting standards and procedures

that existed on January 19, 2021, both of which are required per EO 14161” (emphasis added).

       146.    The February 14 Davidson memorandum does not cite any statutory or regulatory

authority for suspending adjudication of benefits applications, including benefits for which there

is statutory authorization, including asylum (under 8 U.S.C. § 1158), TPS (under 8 U.S.C. §

1254a), or other requests to adjust status (such as visas under 8 U.S.C. § 1201).

       147.    The February 14 Davidson memorandum refers to alleged fraud in the CHNV

parole processes that DHS detected, investigated, and, where problems were identified, corrected

in the summer of 2024. Some of this claimed “fraud” was based solely on the fact that some

sponsors, like Plaintiff Kyle Varner, felt compelled and were financially able to sponsor more than

twenty beneficiaries—often based on the sponsors’ sincerely held religious beliefs—which was

entirely permissible under the rules of the process. What is more, this alleged “fraud” concerned

solely the CHNV processes, yet the Davidson memo’s suspension of benefits adjudications—like

the January Higgins directive—was far broader, affecting other parole processes like U4U. Finally,

and regardless, the Davidson memorandum’s suspension of benefits adjudications was based only

on Executive Order 14161 and the possibility that individuals paroled through these specific

processes were not vetted to the “maximum” extent possible.



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       148.    As noted above, most individuals paroled into the United States via the U4U,

CHNV, and OAW processes are eligible under statutory provisions enacted by Congress for other

forms of immigration relief, including but not limited to TPS, asylum, and/or visas based on

familial relationships. The INA, for example, makes clear that “[a]ny [individual] who is

physically present in the United States . . . irrespective of such [individual’s] status, may apply for

asylum.” 8 U.S.C. § 1158(a)(1) (emphasis added). Individuals paroled in through the family

reunification processes are all eligible for family-based visas, because that was a requirement to

apply for parole through those processes.

       149.    Yet, per the January Higgins directive and the February 14 Davidson memorandum,

the parolees’ applications for any of these benefits—all of which would preclude their removal—

are now suspended, as are any of their applications for re-parole, employment authorization, and

adjustment of status.

       150.    Meanwhile, at the same time that the Trump Administration has suspended the

ability of these parolees to seek relief from deportation by affirmatively applying for benefits, it

has aggressively (and unlawfully) expanded the ability of immigration officials to remove

individuals paroled into the country through expedited removal—a shortcut deportation process

with few procedural protections and even less judicial review. Those actions are challenged

elsewhere but comprise part of the injury and irreparable harm threatening Plaintiffs and others

similarly situated.

       151.    The February 14 Davidson memorandum states that if there is a “litigation need”

to lift a suspension of benefits adjudication for individuals paroled through these processes, the

suspension can only be lifted on a case-by-case basis with approval of the USCIS Director or

Deputy Director, with a memo memorializing the lifting of the suspension as to that individual.



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       152.    Remarkably, the February 14 Davidson memorandum states that these

requirements for lifting the suspension apply even when a court issues an injunction or other order

directing the lifting of the suspension on a class-wide basis.

                         Defendants’ Actions Cause Harm to Plaintiffs

       153.    Defendants’ termination of the U4U, CHNV, and OAW parole processes and

related suspension of processing of immigration benefit requests have caused Plaintiffs substantial,

concrete, particularized, and irreparable injury.

       154.    Plaintiffs Maksym and Maria Doe are a married couple and nationals of Ukraine.

They were forced to flee their home in Kharkiv on the day that Russia invaded Ukraine and began

bombing the city. Once they found safety, Maksym began looking for a way to do something for

his fellow Ukrainians. He and several friends started by coordinating volunteer efforts to evacuate

others from cities and towns on the front lines of the war; within six months, they had saved over

22,000 people from eastern Ukraine, solely through the efforts of approximately 200 unpaid

volunteers. Eventually, Maksym and his partners formed a nonprofit organization and began

raising funds, managing logistics, hiring professionals and converting volunteers into paid

employees, and expanding their humanitarian aid operations. In the three years since Russia

invaded Ukraine, the nonprofit has grown to a staff of over 100 employees and has assisted over a

half million Ukrainians displaced and affected by the war.

       155.     Since the invasion, Maksym’s work with his nonprofit has been his singular focus.

Toward the end of 2022, he and Maria, as well as his partners in the nonprofit, discussed the

possibility of Maksym and Maria moving to the United States to expand the nonprofit’s work with

other humanitarian aid organizations, to raise more funds, and to amplify their ability to provide

aid to Ukrainians harmed by the war. Maksym came to the United States first in December 2022

on a visitor visa to research registering a nonprofit in the United States and to explore how to
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fundraise and collaborate with other humanitarian aid organizations. A generous family friend who

has known Maksym and his sister since high school subsequently agreed to be their sponsor to

apply for U4U parole. Maria joined Maksym in February 2023 through U4U parole; Maksym then

left the United States for Mexico, where he also went through the U4U application process with

the sponsorship of his family friend, and was able to return to the United States on U4U parole in

April 2023. They received their employment authorization when they entered the United States on

U4U parole.

        156.    After arriving in the United States with only two suitcases and Maria taking all the

jobs she could find to earn money, including dog walking, Maria has since found a job as a quality

assurance engineer with a tech start-up and recently got a promotion to a Project Management

position. Maksym has continued his work with his nonprofit, and after two years of struggle and

hard work in the United States, the couple started to feel like they could finally plan for their future.

They applied for U4U re-parole and TPS; while Maria’s re-parole application was granted in

January 2025, Maksym’s re-parole application remains pending, as well as both of their TPS

applications.

        157.    As a result, it has been devastating for the couple to learn that that President Trump

has terminated U4U and paused the processing of all immigration benefits applications of U4U

parolees. Maksym’s U4U parole expires in April 2025; if his re-parole application or TPS

application is not processed and granted by that time, he will lose his legal status and his work

authorization. Maria plans on filing an application for an H-1B work visa with her employer soon,

because an H-1B visa will help provide the couple with a more stable and predictable legal status,

but it is unclear if that application will ever get processed. After working so hard to come to the

United States legally, and after doing all they could to maintain their status to remain here legally



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so that they can continue working and supporting Maksym’s humanitarian efforts in Ukraine, it

feels like all the doors are being slammed in their faces. Maksym and Maria never thought that

they would have to face the prospect of being displaced, yet again, from a democratic country like

the United States.

       158.    Plaintiff Svitlana Doe fled Ukraine following Russia’s unprovoked and unjustified

incursion into Ukraine. When war struck in 2022, Svitlana and her family lived in a city

immediately outside of Kyiv, the capital of Ukraine, one of Russia’s initial focal points for

occupation. Bombs rained down and fighting broke out regularly in the streets directly outside her

apartment. It was terrifying and unpredictable. Basic necessities like electricity and water soon

became unavailable, and all flights out of the country were cancelled. Svitlana and her family

eventually fled the capital for another district further away from ground zero, where they remained

for about a month and a half before returning to the capital.

       159.    Svitlana is the mother to a young son with celiac disease. After her son was born

and began eating solid food, he became extremely sick with an undiagnosed condition. Even at

one of the best hospitals in Ukraine, it took a long time to correctly diagnose her son’s condition

as celiac disease. It was extremely hard to provide for her son in Ukraine, even before the war. Her

son was extremely sensitive—even minimal cross-contamination using the same utensil would

make him dangerously ill. Svitlana had to shop around at tens of different grocery stores to find

gluten-free products for her son, and when she could find them, they cost twice as much as

glutenous products. People would often criticize Svitlana at grocery stores for not buying her son

“normal” food. When the war began, it became even more difficult to take care of her son. Grocery

prices skyrocketed, and non-glutenous products became all but impossible to find. In 2022, after




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the onset of the war, her son was hospitalized for a few weeks when he became extremely sick and

his stomach swelled up dangerously from contact with gluten.

       160.    Before the war began, Svitlana never considered leaving Ukraine. She was satisfied

with her life and career as a project manager for a large charity foundation doing work inside and

outside of Ukraine. But amid her son’s failing health and the regular shriek of air raid sirens which

forced Svitlana and her family into the earthen basement of their son’s school to take shelter from

missile attacks, they decided they needed to flee the country. Svitlana began searching for help on

the internet and social media. Eventually, she was put in touch with the executive director of a

celiac disease research center in the United States. Doctors at the center began exploring Svitlana’s

son’s condition and treating him from afar, and the executive director eventually volunteered to

assist Svitlana and her family through the Uniting for Ukraine parole process. Svitlana and her

family received travel authorization in November 2022.

       161.    After the war began, men were generally not permitted to leave Ukraine due to the

draft. However, officers often made exceptions for fathers seeking treatment for their disabled

children, so Svitlana scrambled to assemble a comprehensive collection of her son’s medical

documentation, who had been officially diagnosed as having a temporary disability. The U.S.

doctor working with Svitlana’s son even wrote a letter documenting the medical need for treatment

outside Ukraine. This was an extremely stressful time, since border officials maintained individual

discretion and the family could not guarantee Svitlana’s husband would be allowed to leave the

country. Svitlana’s husband and son left first to maximize the odds of remaining together, arriving

in Poland in mid-November 2022. Svitlana followed the next day, and met her family in the capital

of Poland, Warsaw. From there Svitlana and her family traveled to the United States, arriving on

November 20, 2022, and living since their arrival in Dover, Massachusetts.



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       162.    Since arriving, Svitlana’s son has continued to receive treatment at the medical

center specializing in celiac research. After about a year, his health began to improve dramatically,

and he is now a healthy young boy, although he will require a strict diet and comprehensive annual

checkups for the rest of his life. Svitlana has worked since receiving her work authorization around

April 2022, and she enrolled as a student in community college studying child development. In

2024, Svitlana and her family were re-paroled under U4U, and her current parole status and work

authorization is valid until November 18, 2026. Around the beginning of February 2025, Svitlana

applied for Temporary Protected Status (“TPS”).

       163.    If her TPS application is not adjudicated or even paused for too long, Svitlana will

lose her only chance of being able to remain in safety in the U.S., especially if her parole is revoked

as the Trump administration has threatened. If either becomes unavailable to her, she will lose her

work authorization, and therefore, her ability to provide for her family. She will not be able to pay

her rent (around $2200 per month), purchase groceries (around $800 per month), or pay her

family’s bills, and her son would no longer be able to receive the treatment he needs to thrive,

including weekly speech therapy and stability. Her family would be forced to leave the U.S., but

there is nowhere else for her family to go—they cannot return to Ukraine in the middle of a

continuing war, where Svitlana’s husband would be forcefully recruited into the army upon return.

Even if negotiations won out, there is no promise peace would last. And in any event, forests and

seas surrounding many Ukrainian cities are now filled with mines and explosives, making travel

within the country extremely dangerous. U4U and the availability of TPS have been lifelines for

Svitlana and her family, and losing them would cost more than they can bear.

       164.    Plaintiff Alejandro Doe fled Nicaragua because of increasing physical danger to

his family and untenable economic conditions. In 2018, demonstrators in several Nicaraguan cities



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began protests against social security reforms decreed by President Daniel Ortega. The

demonstrations were heavily oppressed, and government and pro-government militia and security

forces used live ammunition on protestors resulting in hundreds of civilian deaths. Countless others

were imprisoned.

       165.     Alejandro’s father was among those imprisoned. While searching for his uncle,

government actors abducted Alejandro’s father from his grandmother’s house where he lived,

beating and violently interrogating him on the way to prison. Once there, guards physically and

psychologically tortured him for three days, telling him that they would kill him and that he would

never leave the prison. He was withheld food for most of the duration of his three-day

imprisonment.

       166.     Although Alejandro’s father was released, he was labeled an opponent of the

regime, and Alejandro felt they had no choice but to leave the country for their safety. Alejandro’s

cousin, a U.S. citizen who lives in Washington, sponsored him and various other members of his

family through the parole process for Nicaraguans. Alejandro received travel authorization on May

15, 2024, and arrived in the United States on July 29, 2024. Since arriving in the United States,

Alejandro has lived in Gainesville, Georgia, and since receiving work authorization has worked

producing marble bathroom panels. To ensure he would not lose his newfound safety, Alejandro

filed an application for asylum (Form I-589) on January 21, 2025.

       167.     When Alejandro learned of the Trump administration’s indefinite pause on

processing applications for immigration relief filed by individuals who came to the U.S. through

CHNV parole, it came as a gut punch, especially considering the U.S. government’s recently

announced plans to terminate CHNV parole. For years, the Nicaraguan government has considered

individuals who apply for asylum in other countries to be political dissidents. What’s more, the



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Parliament loyal to President Ortega recently legalized the banishment and denial of entry or exit

to people deemed to be critics of Nicaragua, including Nicaraguan citizens. Alejandro is distraught

about what will happen if he is deported and cannot reenter Nicaragua, or if the Nicaraguan

government arrests, interrogates, or tortures him or his family upon return given his family's

history of political persecution by the State. Asylum and parole were the only avenues that could

keep Alejandro and his family safe. If he is no longer permitted to remain the U.S., he would be

forced to look for alternative places to flee, because he cannot safely return to Nicaragua.

       168.    For Plaintiffs Ana Doe and Armando Doe, fleeing Nicaragua and obtaining parole

through the CHNV parole processes was a matter of seeking stability and safety from the ongoing

persecution and violence they faced in Nicaragua. Similar to Alejandro Doe’s account, due to the

increasing political repression and systemic violence under the Ortega regime, Ana’s family has

been persecuted for their political ideologies and involvement in anti-government protests. In

2018, while the police were actively looking for Ana’s uncle, they found and detained her father

instead. Ana’s father spent days in prison where he was interrogated and tortured. Although he

was eventually released, Ana’s entire family had become people of interest in the eyes of the

government, and they remained vulnerable to future persecution and violence. In 2020, Armando

worked at a digital media company that published information regarding the political situation in

Nicaragua and government abuses in the country. Before his arrival at the company, the

government found and detained some employees of the company because they were discovered to

be assisting some people who had been protesting during a hunger strike. While these individuals

were eventually released and fled the country for their safety, it was evident that the government

was keeping a close eye on Armando’s employer––labeling his employer as anti-government––

and Armando’s safety grew ever more precarious, despite the precautions he took.



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       169.    The CHNV parole processes have provided Ana and Armando a safe pathway to

escape the danger they faced in Nicaragua. Ana and Armando were sponsored by Ana’s cousin, a

U.S. citizen who lives in Washington state, and Ana and Armando subsequently received

authorization to travel to the United States through the CHNV parole processes in December 2023.

They both arrived in the United States and were granted two-year periods of parole in February

2024. Since then, Ana and Armando have created a home and community in Gainesville, Georgia,

where they reside along with Alejandro Doe, Carlos Doe, and other members of their family. They

have been welcomed by the local community in the Gainesville area. Since Ana and Armando

received work authorization under CHNV parole, they have both been working full time. Ana

works at a company that provides personal protective equipment, where she is responsible for

overseeing the company’s inventory and supporting the company’s warehouse. Armando works

for a company installing machinery on trailers. Ana and Armando have been saving up money for

their own futures while also supporting their family and loved ones who remain in Nicaragua. In

January 2025, knowing that they needed to seek additional legal protection from the dangers and

risks of persecution they face in Nicaragua, Ana and Armando applied for asylum.

       170.    The news about the Trump administration’s halt on processing applications for

immigration relief filed by individuals who came to the United States through the CHNV parole

processes came as a shock to Ana and Armando. This pause means that their asylum applications

could be delayed indefinitely or not adjudicated at all in their remaining authorized time in the

United States. Since their parole was only for a two-year period, Ana’s and Armando’s ability to

seek asylum was their only avenue to ensure they can continue living a life free from the fear of

persecution and danger they face in Nicaragua because of their political and ideological beliefs. If

their applications remain on hold and they are subsequently removed, both Ana and Armando face



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the risk of being returned to the very danger and instability they fled in Nicaragua. Alternatively—

if they are removed from the United States and the Nicaraguan government does not allow them

to re-enter the country—Ana and Armando would be rendered stateless. Their ability to obtain

work authorization through the asylum application process is likewise vital for them to be able to

continue working and providing for themselves and their families after their parole expires and

while they await the adjudication of their asylum applications. Given these risks, this indefinite

pause on processing these applications for immigration relief and the impending termination of the

CHNV parole processes irreparably harms Ana and Armando and their family.

       171.    Plaintiff Carlos Doe also fled Nicaragua due to the political instability and direct

persecution he and his family faced by the Nicaraguan government. In 2018, while he was a

university student, he became involved in protests against the government. Eventually, more

protests broke out in his city, resulting in numerous assassinations and disappearances. Based on

his involvement in these anti-government protests, the Nicaraguan government identified Carlos

as a dissident and actively persecuted him and his father. Soldiers and police officers came to his

family’s home multiple times in search of Carlos and his father, making death threats against

Carlos and his family. Given the danger and active persecution against Carlos and his father, they

both decided to go into hiding. However, while in hiding, Carlos and his father continued to receive

death threats, and at one point military soldiers came to Carlos’s mother’s house and told her they

would imprison him and his father if they ever found them.

       172.    Once Carlos learned about the CHNV parole processes, this path became a way for

him to safely flee the danger and persecution he faced in Nicaragua. Carlos was sponsored by a

U.S. citizen family member, and in May 2023, he received travel authorization to come to the

United States under the CHNV parole processes. Carlos arrived in the United States and was



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granted a two-year period of parole in June 2023. Since his arrival, Carlos has created a community

for himself, comprised of friends and family (including Ana, Armando, and Alejandro). He has

also made many connections and friendships through his work experiences. Currently, Carlos

works as a welder and solderer at a manufacturing plant. His ability to work in the United States

with authorization has enabled him to provide for himself, his mother and younger brother who

remain in Nicaragua, and his sister who currently lives in Costa Rica. Due to the risks of

persecution and danger he faces in Nicaragua, Carlos applied for asylum in January 2025.

       173.    After learning about the Trump administration’s indefinite suspension of

processing applications for immigration relief for individuals who entered the United States with

CHNV parole, Carlos became very worried about how this pause will affect his ability to seek

asylum. Because his asylum application could be delayed indefinitely or not adjudicated at all,

Carlos’s only prospect of safety here in the United States beyond the end of his parole period has

been stripped away from him, leaving him at risk of losing legal status or deportation back to

Nicaragua where the government knows where he lives and has actively persecuted him.

Moreover, obtaining work authorization through his asylum application is imperative for him to

be able to support himself and his family in Nicaragua and Costa Rica, and this indefinite pause

on the processing of his asylum application could render him without the ability to work, including

once his parole expires or is terminated, which would harm both him and his family who rely on

him.

       174.    Plaintiff Omar Doe is an Afghan national who faithfully and loyally served the

U.S. military in Afghanistan for over eighteen years, despite threats and persecution from other

Afghans, including his own family members, that forced him to relocate his wife and children from

his home province. He built up good relationships with the soldiers he worked with, so when the



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U.S. military withdrew from Afghanistan in 2021, they brought Omar and his family with them.

His departure from Afghanistan was chaotic—up until just two or three days before the collapse

of the Afghan government, he was stationed with U.S. troops in Kandahar Province. They were

relocated to the Kabul airport, and then suddenly, at 3 am in the morning, he was told that if he

wanted to bring his family with him to the United States, they would need to come to the airport

immediately. Omar called his father, who was able to bring his family to the airport at 6 am, but

congestion and crowding at the airport was so dense that Omar’s family was only able to reach

him at 10 am. That brief interaction, when Omar received his family at the airport, was the last

time Omar saw his father. He never got to say goodbye to his mother.

       175.    Upon arriving in the United States, Omar was registered by the troops he had

worked with and given a work permit. He was told that he would receive a passport and a green

card, and he was told not to worry about anything. Three and a half years later, however, he has

yet to receive permanent legal status in the United States, which has been extremely traumatic and

stressful for him and his wife. Although he is grateful that his family is safe here and that his

children are in school, the lack of legal documentation has caused so much stress that he has lost

all his hair, and he and his wife have both lost teeth. After so many years of service to the U.S.

military, it is very frustrating to Omar that he still lacks permanent legal status.

       176.    Shortly after arriving in the United States, Omar applied for a Special Immigrant

Visa (“SIV”), which are issued to, among others, Afghan nationals who provided faithful and

valuable service to the U.S. government, and who endure serious threats because of that service.

In addition, because his parole and work authorization will expire in September 2025, he is

working with a nonprofit to file an asylum application, which will enable him to maintain his work

authorization so that he can keep working to support his family until his SIV is granted. But the



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Trump administration’s pause on the processing of immigration benefits means that these

applications will not be adjudicated. This is especially hard for Omar to stomach, given all that he

has done and sacrificed for the U.S. military over the course of most of his adult life. Going back

to Afghanistan is not an option for him and his family after his service to the U.S. military, and he

does not know what will happen to them if they are deported there. Omar had expected dignity

from the government that he had served and that brought him to this country, but that has not

happened for him.

       177.    Plaintiff Sandra McAnany is a U.S. citizen and sponsor for seventeen individuals

who were approved to come to the United States and granted parole through CHNV. Fifteen of

these beneficiaries who are currently in the United States are nationals of Venezuela, and two are

nationals of Nicaragua. They all arrived in the United States between September and December

2023 and were approved for two-year parole periods and work authorization. To Sandra’s

knowledge, most have pending asylum applications that are now on hold due to the

administration’s suspension of processing immigration benefits requests for CHNV parolees.

Sandra’s beneficiaries include five sets of parents with young children, who were only able to

reunite with family members in the United States because of the CHNV parole process, and six

adults without children. They seek both stability with their families and safety from persecution

and violence in their countries of origin. One beneficiary is a mother of two young kids whose

husband was diagnosed with cancer while she was in Venezuela, and her grant of CHNV parole

allowed her to care for him while he went through treatment.

       178.    Sandra also has four CHNV applications, for nationals of Cuba, that remain

pending. Due to the administration’s termination of the CHNV parole process and end to

processing new CHNV parole applications, these applications are in limbo. Daily life in Cuba is



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extremely difficult for these beneficiaries, as they struggle under the government system there to

make enough money to pay for food for themselves and their families. They sought to come to the

United States through CHNV parole either to reunite with family or to earn money to support their

families in Cuba, including for critical medical treatment. One of these Cuban beneficiaries has

also lost jobs in Cuba for speaking out against the government and fears being arrested if he

continues to speak out. He and other beneficiaries hope to experience the democracy and freedoms

of the United States.

        179.    Sandra was driven to serve as a CHNV parole sponsor by her religious convictions,

her experiences volunteering abroad in Central and South America, and her close connections with

immigrant neighbors and friends in Wisconsin. As a Christian, she believes strongly in caring for

others and supporting those in need, so sponsoring immigrants through CHNV parole allows her

to live out her religious convictions in a meaningful way. In addition to putting considerable time

and effort into completing the applications for her beneficiaries, Sandra has provided constant

support, advice, and resources to them as they traveled to the United States and integrated into

their communities. She provided travel guidance and support on job searches and enrollment in

English classes, and one family lived with her in her home for over a year while the parent got a

work permit and found a job. She helped pay for some of her beneficiaries’ initial cell phone plans,

and she provided winter clothing or money to buy it for several families weathering a harsh winter

for the first time.

        180.    Over the last couple years, Sandra has allocated large amounts of time, effort, and

money into helping the people she sponsors establish safe and stable lives in the United States, and

in growing those relationships, she has come to see many of them like family. The administration’s

pause on processing her beneficiaries’ asylum applications means that all the time and money she



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has invested could be lost. If her beneficiaries become deportable, Sandra fears the harm that will

come to them if they are forced to return to their countries of origin, and she will lose relationships

that are valuable to her as a meaningful way to live out her faith. She worries that she may never

be able to see them again.

       181.    Plaintiff Kyle Varner has long been involved in supporting liberal and libertarian

political movements in Venezuela, and he has done global health work at the Venezuelan border.

Through his experiences, he has seen the challenges faced by people in poverty in the country. His

personal and political convictions have led Kyle to serve as the U.S.-based sponsor for seventy-

nine individuals through the CHNV parole processes, seventy-seven of whom are nationals of

Venezuela. Of the forty-three of those individuals who are currently in the United States, at least

thirty-one have pending applications for asylum, TPS, or other forms of immigration relief. The

first of Kyle’s beneficiaries arrived in the United States in November 2022. The people he has

sponsored include a son who could only pay for his mother’s life-saving cancer treatment because

he got a job in the United States, and a mother and her young son who lived with Kyle’s parents

for eight months when they first arrived.

       182.    Kyle also has thirty-two other pending applications for CHNV sponsorship,

including for one Cuban individual and one Nicaraguan individual. Due to the administration’s

termination of the CHNV parole processes and end to processing of new CHNV parole

applications, these applications are on pause indefinitely and the beneficiaries are deprived of a

legal pathway to the United States. In Venezuela, these beneficiaries will continue to struggle with

low wages and extreme poverty, violence and crime, and government systems that are unable to

support the country’s residents.




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       183.    Kyle has dedicated immense time, effort, and money into supporting the people he

has sponsored. He spent hours submitting applications, and after people received approval to travel

to the United States, he purchased plane tickets for most of them. After they arrived, he helped

them find safe housing, including allowing many of them to live with him temporarily at first. He

also co-signed leases and rented properties that he owns to many beneficiaries for reduced rates

and under favorable terms. He purposefully kept some of his properties vacant when he was

waiting for his CHNV sponsorship applications to be granted, which meant he missed out on

leasing them to other renters. Kyle paid for most of his beneficiaries’ work permit applications,

helped them with job applications and enrollment in English classes, paid for cell phone SIM cards,

and even taught a few how to drive. As a physician, he provided free medical care for minor health

conditions and helped translate Spanish-language medical records from Venezuela.

       184.    When his beneficiaries were applying for asylum, TPS, and other forms of

immigration relief, Kyle lent money to some to help pay for attorney fees, helped them compile

documents, and otherwise provided resources that they needed to complete their applications. Kyle

has invested significantly in all of his beneficiaries to assist them in settling into their communities

in the United States so they can in turn support their families and other loved ones. The time and

money he has invested could be lost if his beneficiaries’ applications for relief are not adjudicated.

Additionally, if his beneficiaries lost their work authorization because of a change in their status,

Kyle would need to put more time and resources into making sure they have everything they need

to survive.

       185.    Plaintiff Wilhen Pierre Victor is the U.S.-based CHNV parole sponsor for seven

of her family members from Haiti. Five of them—her brother, his wife, and their three children—

were approved to travel to the United States in May 2024, and arrived between June and July 2024.



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They were all granted two-year periods of parole, and they all live with Wilhen and her two

children in Woburn, Massachusetts. Wilhen also has two pending CHNV sponsorship applications

for her niece and cousin, both of whom are still in Haiti living under unstable political conditions

and subject to the daily threat of violence. Wilhen’s niece is thirteen years old and in Haiti without

either of her parents. She is unable to attend school consistently because there is often gang

violence, including gunfire, in the streets where she lives, which prevents her from going outside

at all. Sometimes, she is unable to leave to go to school for up to a week. Wilhen’s cousin, who is

fifty years old, lives with the constant fear of kidnapping for ransom, especially if the gangs find

out she has family in the United States. She has heard of people being kidnapped and murdered

when they cannot produce large sums of money. There are often days when she cannot go outside

even to run minor errands because of the fear of gang violence. Given the administration’s end to

processing new CHNV parole applications, Wilhen’s applications to bring her niece and cousin to

the United States are not being reviewed. Because of this, Wilhen’s niece and cousin continue to

live in terror of the ongoing violence in Haiti, and they are unable to reunite with their family

members in the United States.

       186.    Wilhen applied for a green card for her brother back in 2007, and they were still

waiting for an interview with USCIS when the parole process for Haitians was announced in 2023.

Wilhen sponsored him to come through CHNV parole because it provided a legal way for them to

reunite in the United States and to bring Wilhen’s family to a safer, more stable place while they

continued to await adjudication of the green card application, which remains pending.

       187.    Back in Haiti, Wilhen’s brother had been unable to find a job for thirteen years due

to the lack of economic opportunities. His wife worked as a salesperson for a small business, but

they relied on support from Wilhen and other family members to survive. Their children were not



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able to attend school consistently, and their family dealt with frequent reports of kidnappings,

murders, and other violence. In the United States, Wilhen’s brother has obtained work

authorization and is working at a local nursing home. His kids are enrolled in school as well, and

he and his wife are both taking English classes and attending their local church.

        188.    Being together as a family has been beneficial for Wilhen, her brother, and his

entire family, and Wilhen has invested her time and energy into ensuring that they arrived safely

and have had the resources to settle into their lives in the United States. When her brother and his

family were approved to travel to the United States through the CHNV parole processes, Wilhen

pooled money with other family members to pay for their plane tickets. She prepared her home for

all five of them to stay with her. Once they arrived, she picked them up at the airport, where they

were overjoyed to be reunited for the first time in more than twenty years. Wilhen then supported

them all while her brother received his work permit and looked for work, and she helped him find

his current job.

        189.    The administration’s pause on processing applications for immigration relief for

individuals who came to the United States under CHNV parole means that her brother’s

longstanding green card application could be delayed even further or not adjudicated at all, and

that he could lose out on the chance to apply for asylum as well. The years that Wilhen and her

brother have spent waiting for it to be processed will be lost, and her brother and his family could

be forced to return to a life in Haiti rife with instability and violence. Given the difficulty of finding

a job in Haiti and the frequent violence Wilhen’s family experienced there, the end to the CHNV

parole processes and suspension of adjudication of immigration benefits causes direct harm to

Wilhen and her loved ones.




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       190.    Plaintiff Haitian Bridge Alliance (“HBA”) was founded for the purpose of

assisting Haitian and other Black immigrants to acclimate to the United States and to promote their

ability to navigate their new lives in the United States. HBA’s core organizational activities have

been to educate Black migrants about legal pathways and humanitarian protections and to provide

them with legal services to access them. HBA has provided direct services to over 1,000 CHNV

sponsors and parolees from Haiti.

       191.    Since January 2023, HBA has received over 3,000 urgent requests from potential

Haitian parolee clients seeking sponsors to apply for the Haitian parole process and has conducted

hundreds of consultations with Haitians wanting to apply for parole.

       192.    HBA has provided aid to individuals looking to sponsor Haitian migrants through

the Haitian parole process by assisting these sponsors with the completion of their sponsorship

applications (the Form I-134A) and ensuring they understand each aspect of the application.

Between June 2023 and January 2024 alone, HBA staff spent over 500 hours on this work.

       193.    HBA has also partnered with Welcome.US––a national initiative that mobilizes and

empowers Americans from across the country to welcome and support those seeking refuge here

in the United States––to mobilize individuals eager to sponsor and help Haitians fleeing danger

and seeking refuge in the United States through the Haitian parole process. Through HBA’s

partnership with Welcome.US, HBA registered over 140 Haitian parolee clients to help them get

connected with potential sponsors and successfully matched 20 Haitian parolee clients with

sponsors.

       194.    HBA has also provided integration services to Haitian parolees once they arrive,

including with regards to housing and other basic needs, transportation, and education.




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       195.     As a result of the overwhelming demand for assistance with the CHNV parole

processes, HBA expanded their team in 2023 by hiring additional staff members to continue

supporting this work for CHNV sponsors and parolees in connection to HBA’s overall mission

and services.

       196.     The Trump administration’s termination of the CHNV parole processes, including

stopping the processing of CHNV parole applications, and the administration’s suspension of

processing immigration benefit applications filed by CHNV parolees directly and concretely

impair HBA’s core activities, and in multiple ways.

       197.     For one, the termination and suspensions waste the resources that HBA has already

expended in helping potential sponsors and beneficiaries prepare and file applications for parole

and, with regards to those who are already here, other immigration benefits.

       198.     In addition, the termination of parole for those Haitian parolees already here—

which will also terminate their employment authorization—will require HBA to modify its

approach to its core activities to meet the needs of those parolees, including their basic economic

needs and their heightened legal needs.

       199.     The administration has terminated a legal pathway that is relied upon by many of

HBA’s clients and community members, and its actions directly interfere with HBA’s

humanitarian and legal support services being provided to CHNV sponsors and Haitian parolees.

These needs have already increased, as the reporting of CHNV’s termination by the Trump

Administration has led to a rapid increase in the number of Haitians and others seeking assistance

from HBA, be it legal and otherwise.

       200.     The termination and suspension and the new needs it has created has forced HBA

to suspend indefinitely its plans to expand the affirmative legal services it could offer its clients,



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and it will require HBA to respond to any deportation defense needs of CHNV parolees if they

lose their status, which would be work that is outside the normal realm of services it offers CHNV

parolees. Rather than move forward with their previous plans, HBA now must change course to

meet the more immediate humanitarian and legal needs of the community it serves.



                                   CLASS ALLEGATIONS


       201.    Plaintiffs Maksym Doe, Maria Doe, Svitlana Doe, Alejandro Doe, Armando Doe,

Ana Doe, Carlos Doe, Omar Doe, Kyle Varner, and Wilhen Pierre Victor (the “Putative Class

Representatives”) bring this action as a class action pursuant to Federal Rule of Civil Procedure

23(b)(1) and (b)(2) on behalf of themselves and all similarly situated persons for whom the January

20 Huffman memorandum and the February 14 Davidson memorandum have halted the processing

of their applications to sponsor parole beneficiaries and to seek additional immigration benefits.

The Putative Class Representatives seek certification of a class (the “Plaintiff Class”) consisting

of:

       a)      All individuals with pending applications to sponsor a beneficiary for any

               humanitarian parole process, including but not limited to CHNV, U4U, FRP, OAW,

               and CAM, which applications are subject to the January 20 Huffman memo and

               subsequent actions by Defendants to pause or otherwise terminate the processing

               of such applications (the “Sponsor Subclass”);

       b)      All individuals who have received humanitarian parole through the CHNV, U4U,

               FRP, and OAW parole processes with any pending applications for any additional

               immigration benefit, which applications are subject to the “administrative hold” set

               out in the February 14 Davidson memorandum, the January Higgins Directive, and

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              other subsequent actions by Defendants to pause or otherwise terminate the

              processing of such applications (the “Immigration Benefits Subclass”).


       202.   This action meets all of the Rule 23(a) prerequisites for maintaining a class action.

       203.   The Plaintiff Class is so numerous that joinder is impracticable, satisfying Rule

23(a)(1). The demand for to sponsor beneficiaries through the U4U and CHNV parole processes

has been high; USCIS received over 120,000 sponsorship applications for U4U, and more than 1.5

million sponsorship applications for CHNV parole, in just the first four or five months that the

processes were made available. Although U4U has no monthly cap on the number of applications

that can be granted, only a maximum of 30,000 CHNV applications can be granted each month,

which is why USCIS eventually adopted a lottery system to process some CHNV applications,

rather than processing them all on a first-come-first-served basis. Approximately 200,000

Ukrainians have entered the United States through the U4U parole process; approximately 600,000

nationals of Cuba, Haiti, Nicaragua, and Venezuela have entered the United States through the

CHNV parole processes; and approximately 75,000 Afghans were brought to the United States

through Operation Allies Welcome. Although not all of these individuals are eligible for or have

applied for additional immigration benefits, many thousands of them have already applied for

asylum, TPS, and other status adjustments.

       204.   The claims of the Plaintiff Class members share common issues of law, including

whether the Defendants’ interpretation of the INA’s parole provision is lawful and supported by

the text of the statute; whether the January 20 Huffman memorandum, the February 14

memorandum, and other similar agency actions are not in accordance with law; and whether the

January 20 Huffman memorandum, the February 14 memorandum, and other similar agency

actions violate Plaintiff Class members’ rights under the APA.


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       205.    The claims of the Plaintiff class members share common issues of fact, including,

but not limited to: whether, in issuing and implementing the January 20 Huffman memo and the

February 14 Davidson memorandum, Defendants acted contrary to law, or acted in an arbitrary

and capricious manner by failing to consider important aspects of the problem they are addressing,

or explained their decision counter to the evidence before them; whether Defendants quantified or

considered harms that result from the January 20 Huffman memorandum and the February 14

Davidson memorandum and their implementation; and whether class members have suffered harm

as a result of the January 20 Huffman memorandum and the February 14 Davidson memorandum

and Defendants’ actions taken to implement these memoranda.

       206.    Because the claims of the Plaintiff Class members share common issues of law and

fact, they will not require individualized determinations of the circumstances to any plaintiff and

satisfy Rule 23(a)(2).

       207.    The claims or defenses of the Putative Class Representatives are typical of the

claims or defenses of the members of the Plaintiff Class, satisfying Rule 23(a)(3). Like other

members of the class, the Putative Class Representatives have been harmed by, among other

things, Defendants’ failure to abide by the plain text of the INA’s parole provision, thereby leading

to arbitrary, capricious, and unlawful action that fails to account for important aspects of the

supposed problems it is addressing. They have further been harmed by Defendants’ failure

adequately to explain their decision to issue the January 20 Huffman memorandum and the

February 14 Davidson memorandum, as well as Defendants’ premising these memoranda and their

implementation on an erroneous interpretation of the INA’s parole provision. Each of these

actions, independently and collectively, have caused harm to the Putative Class Representatives

and the Plaintiff Class members.



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       208.     The Putative Class Representatives will fairly and adequately protect the interests

of the Plaintiff Class, satisfying Rule 23(a)(4). The Putative Class Representatives will defend the

rights of all proposed class members fairly and adequately and have no interest that is now or may

be potentially antagonistic to the interests of the Plaintiff Class. The attorneys representing the

Putative Class Representatives include experienced civil rights and immigration attorneys who are

considered able practitioners in federal litigation, including constitutional and administrative law

litigation. These attorneys should be appointed as class counsel.

       209.     The members of the proposed class are readily ascertainable through Defendants’

records.

       210.     Through implementation and enforcement of the memoranda at the center of the

Plaintiff Class’s allegations, Defendants have acted, have threatened to act, and will act on grounds

generally applicable to the Plaintiff Class, thereby making final equitable and declaratory relief

appropriate to the class as a whole. The Plaintiff Class may therefore be properly certified under

Federal Rule of Civil Procedure 23(b)(2).

       211.     Prosecution of separate actions by individual members of the Plaintiff Class would

create the risk of inconsistent or varying adjudications and would establish incompatible standards

of conduct for individual members of the Plaintiff Class. The Plaintiff Class may therefore be

properly certified under Federal Rule of Civil Procedure 23(b)(1).

                                 FIRST CLAIM FOR RELIEF
            Violation of the Administrative Procedure Act (APA) – Contrary to Law
                               (Termination of parole processes)
                    (Against Defendants Noem, Vitello, Flores, and Davidson)

       212.     All foregoing allegations are repeated and realleged as though fully set forth herein.

       213.     A reviewing court must “hold unlawful and set aside agency action” that is “not in

accordance with law,” “contrary to constitutional right, power, privilege, or immunity,” or “in

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excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. §

706(2)(A)-(C).

       214.      The January 20 Huffman memorandum; the January Higgins directive; and

Defendants’ other actions to terminate the OAW, U4U, and CHNV parole processes are final

agency actions reviewable under the APA. 5 U.S.C. § 704. They are “the consummation of the

agency’s decisionmaking process,” as they are not “merely tentative or interlocutory in nature.”

Bennett v. Spear, 520 U.S. 154, 178 (1997). And they are actions by which “rights or obligations

have been determined” or from which “legal consequences will flow.” Id.

       215.      Because of the January 20 Huffman memorandum and related actions terminating

the parole processes, parole applications that have been filed are now pending indefinitely, which

eliminates the right for beneficiaries to obtain parole and holds legal consequences both for the

applicants and their sponsors. For example, Plaintiffs Sandra McAnany, Kyle Varner, and Wilhen

Pierre Victor all have pending applications for individuals for whom CHNV parole is the only

legal pathway available for them to seek safety and stability in the United States. For Wilhen, those

individuals are family members of hers who deal with routine violence in Haiti. The termination

of the CHNV parole processes means that these beneficiaries have lost their opportunity to come

to the United States and potentially seek further protection here. The U4U, CHNV, and OAW

parole processes were and remain authorized by the statutory parole authority, codified at 8 U.S.C.

§ 1182(d)(5).

       216.      As set forth above, Defendants have ordered and authorized the termination of the

U4U, CHNV, and OAW parole processes based on the legal conclusion that they are not authorized

by the parole statute.




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       217.    Defendants’ legal conclusion regarding the scope of the parole authority and the

legality of these specific parole processes is contrary to law.

       218.    Even Defendants’ allegedly discretionary decisions are based on an erroneous

understanding of their discretionary legal authority. For example, the January 20 Huffman

memorandum’s assertion that the Secretary of Homeland Security has absolute discretion to deny

parole for any reason and in any circumstance is wrong; not only is the Secretary’s exercise of that

discretion subject to constitutional constraints and self-imposed regulatory constraints, it is also

currently restricted by numerous injunctions and other court orders.

       219.    Defendants’ termination of these parole processes must therefore be held unlawful,

set aside, and/or otherwise vacated.

                             SECOND CLAIM FOR RELIEF
      Violation of the Administrative Procedure Act – Contrary to Law & Ultra Vires
                     (Suspension of benefits adjudication for parolees)
                 (Against Defendants Noem, Vitello, Flores, and Davidson)

       220.    All foregoing allegations are repeated and realleged as though fully set forth herein.

       221.    The February 14 Davidson memorandum; the January Higgins directive; and

Defendants’ other actions to suspend the adjudication of benefits requests filed by or that would

benefit individuals who are or were paroled into the United States through the OAW, U4U, and

CHNV parole processes are final agency actions reviewable under the APA. 5 U.S.C. § 704. They

are “the consummation of the agency’s decisionmaking process,” as they are not “merely tentative

or interlocutory in nature.” Bennett v. Spear, 520 U.S. 154, 178 (1997). And they are actions by

which “rights or obligations have been determined” or from which “legal consequences will flow.”

Id.

       222.    The February 14 Davidson memorandum and its associated actions suspending the

processing of immigration benefits for OAW, U4U, and CHNV parole processes has clear legal

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consequences for many applicants, including because a suspension of an application for relief

could leave an applicant stranded without status in the United States. For example, Plaintiff

Maksym Doe’s U4U parole and work authorization currently expire in April 2025. If his pending

applications for re-parole or TPS remain suspended and are not processed and granted by that time,

he will lose his legal status and his work authorization and become subject to deportation. Other

Plaintiffs are similarly at risk of losing their status if this suspension continues.

        223.    Defendants’ suspension of adjudicating applications that would benefit these

parolees is in excess of their statutory authority and contrary to the statutory regime Congress

created that give applicants the right to apply for immigration benefits to be adjudicated under the

legal standards and through the process that Congress created. See, e.g., 8 U.S.C. § 1158 (asylum);

8 U.S.C. § 1254a (TPS).

        224.    Defendants’ blanket suspension of adjudicating applications that would benefit

these parolees is also contrary to the parole statute, which requires that conditions for parole be

“prescribe[d] only on a case by case basis.” 8 U.S.C. § 1182(d)(5).

        225.    Defendants’ suspension of adjudicating applications that would benefit these

individuals must therefore be held unlawful, set aside, and/or otherwise vacated.

                              THIRD CLAIM FOR RELIEF
         Violation of the Administrative Procedure Act – Arbitrary and Capricious
                             (Termination of parole processes)
                 (Against Defendants Noem, Vitello, Flores, and Davidson)

        226.    All foregoing allegations are repeated and realleged as though fully set forth herein.

        227.    A reviewing court must “hold unlawful and set aside agency action” that is

“arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).




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       228.      As detailed above, the January 20 Huffman memorandum; the January Higgins

directive; and Defendants’ other actions to terminate the U4U, CHNV, and OAW parole processes

are final agency actions reviewable under the APA.

       229.      Defendants’ decision to adopt its narrow interpretation of the parole authority in

order to terminate the OAW, U4U, and CHNV parolee processes was arbitrary and capricious. In

making this determination, Acting Secretary Huffman failed to consider any factor relevant to that

decision, including reasonable alternatives; reliance interests; the impact of it on current and

potential parolees, current and potential sponsors, family members of current and potential

parolees, and their communities; the impact of it on the United States’ foreign and domestic policy

objectives, including but not limited to management of migration flows at the southern border; or

even the criteria that the statute makes relevant. In so doing, he failed to consider important aspects

of the problem.

       230.      In imposing an erroneously narrow interpretation of the parole statute on agency

personnel while also authorizing and directing them to terminate the U4U, CHNV, and OAW

parolee processes, Acting Secretary Huffman claimed that, even if a court disagrees with his legal

conclusion, “I am also implementing this policy as a matter of my discretion to deny parole in any

circumstance.”

       231.      Acting Secretary Huffman’s claim that he would impose the same policy as a

discretionary matter was a pretextual attempt to insulate his unlawful actions from judicial review.

       232.      In allegedly deciding to adopt the same policy as a matter of discretion, Acting

Secretary Huffman failed to consider any factor relevant to that decision, including reasonable

alternatives; reliance interests; the impact of it on current and potential parolees, current and

potential sponsors, family members of current and potential parolees, and their communities; the



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impact of it on the United States’ foreign and domestic policy objectives, including but not limited

to management of migration flows at the southern border; or even the criteria that the statute makes

relevant. In so doing, he failed to consider important aspects of the problem.

        233.    DHS thus acted arbitrarily and capriciously in allegedly adopting, as a matter of

discretion, its parole policy.

        234.    Defendants’ termination of these parole processes must therefore be held unlawful,

set aside, and/or otherwise vacated.

                             FOURTH CLAIM FOR RELIEF
         Violation of the Administrative Procedure Act – Arbitrary and Capricious
                      (Suspension of benefits adjudication for parolees)
                 (Against Defendants Noem, Vitello, Flores, and Davidson)

        235.    All foregoing allegations are repeated and realleged as though fully set forth herein.

        236.    A reviewing court must “hold unlawful and set aside agency action” that is

“arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

        237.    As detailed above, the February 14 Davidson memorandum; the January Higgins

directive; and Defendants’ other actions to suspend the adjudication of benefits requests that would

benefit individuals who are or were paroled into the United States through the U4U, CHNV, and

OAW parole processes are final agency actions reviewable under the APA.

        238.    Defendants’ decision to suspend adjudication of these requests for benefits was

arbitrary and capricious. In making this decision, Defendants failed to consider any factor relevant

to it, including reasonable alternatives; reliance interests; the impact of it on those directly affected

and on their family members and communities; the impact of it on the United States’ foreign and

domestic policy objectives, including but not limited to management of migration flows at the

southern border; or the criteria made relevant by the statutes governing the applications. In so

doing, Defendants failed to consider important aspects of the problem.

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        239.    DHS thus acted arbitrarily and capriciously in allegedly adopting, as a matter of

discretion, its parole policy.

        240.    Defendants’ termination of these parole processes must therefore be held unlawful,

set aside, or otherwise vacated.

                              FIFTH CLAIM FOR RELIEF
                Non-Statutory Claim to Enjoin Unlawful Executive Action
    (Termination of parole processes & suspension of benefits adjudication for parolees)
                                     (All Defendants)

        241.    All foregoing allegations are repeated and realleged as though fully set forth herein.

        242.    As discussed above, Defendants’ decisions terminating the U4U, CHNV, and

OAW parole processes and suspending benefits adjudications for individuals paroled through

those processes are contrary to the INA and in excess of the legal authority granted Defendants.

        243.    Defendants’ actions should therefore be declared unlawful and enjoined pursuant

to this Court’s inherent equitable authority.

                              SIXTH CLAIM FOR RELIEF
           Due Process Clause of the Fifth Amendment to the U.S. Constitution
    (Termination of parole processes & suspension of benefits adjudication for parolees)
                                     (All Defendants)

        244.    All foregoing allegations are repeated and realleged as though fully set forth herein.

        245.    Plaintiffs have a protected interest in applying for parole, re-parole, and other

immigration benefits; and in any grant of parole, re-parole, and other immigration benefits.

        246.    Plaintiffs are entitled under the Due Process Clause of the Fifth Amendment to

notice, an opportunity to be heard, and to have their claims adjudicated pursuant to the laws enacted

by Congress.

        247.    Defendants’ actions terminating the parole processes and suspending benefits

adjudication violate Plaintiffs’ right to due process in numerous ways by depriving them of a



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meaningful opportunity to establish—under lawful standards—their eligibility for parole, re-

parole, other immigration benefits, and to the remainder of any grant of parole they have already

received.

       248.    Defendants’ termination of these parole processes and suspension of benefits

adjudication must therefore be held unlawful, set aside, or otherwise vacated as violative of the

Fifth Amendment.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       1.      Issue a preliminary injunction and/or a stay under 5 U.S.C. § 705 in order to restore

the status quo ante, under which adjudications for requests for parole and/or re-parole under OAW,

U4U, and CHNV, as well as other requests for immigration benefits for individuals paroled

through those processes, all resume and continue in the ordinary course.

       2.      Declare that the U4U, CHNV, and OAW parole processes were and are in

accordance with the statutory parole authority, 8 U.S.C. § 1182(d)(5);

       3.      Declare that Defendants’ termination of the U4U, CHNV, and OAW parole

processes was contrary to law, arbitrary and capricious, and violated the constitutional guarantee

of due process;

       4.      Declare that Defendants’ suspension of the adjudication of benefits applications for

individuals paroled through these processes was contrary to law, in excess of legal authority,

arbitrary and capricious, and violated the constitutional guarantee of due process;

       5.      Hold unlawful, set aside, and/or otherwise vacate the January 20, 2025 Huffman

memorandum; the January Higgins directive; the February 14, 2025 Davidson memorandum; and

all DHS actions based thereon, including but not limited to actions terminating the U4U, CHNV,

and OAW parole processes; suspending the adjudication of requests for parole and re-parole
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through those processes; and suspending the adjudication of requests for immigration benefits for

individuals paroled through those processes;

          6.   Enjoin Defendants from applying their erroneous interpretation of the parole statute

to individuals paroled into the United States through the U4U, CHNV, and OAW parole processes;

and from suspending the adjudication of immigration benefits of individuals paroled through those

processes;

          7.   Award Plaintiffs’ counsel attorneys’ fees and costs pursuant to 28 U.S.C. § 2412,

and any other applicable statute or regulation; and

          8.   Award such other and further relief that the Court may deem just, equitable, and

proper.




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Dated: February 28, 2025                            Respectfully submitted,

                                                    /s/ John A. Freedman
Esther H. Sung (pro hac vice pending)               John A. Freedman (BBO#629778)
Karen C. Tumlin (pro hac vice pending)              Laura Shores (pro hac vice pending)
Hillary Li (pro hac vice pending)                   Katie Weng (pro hac vice pending)
Laura Flores-Perilla (pro hac vice pending)         ARNOLD & PORTER KAYE SCHOLER LLP
Brandon Galli-Graves (pro hac vice pending)         601 Massachusetts Ave, NW
JUSTICE ACTION CENTER                               Washington, D.C. 20001-3743
P.O. Box 27280                                      Telephone: (202) 942-5316
Los Angeles, CA 90027                               john.freedman@arnoldporter.com
Telephone: (323) 450-7272                           laura.shores@arnoldporter.com
esther.sung@justiceactioncenter.org                 katie.weng@arnoldporter.com
karen.tumlin@justiceactioncenter.org
hillary.li@justiceactioncenter.org
laura.flores-perilla@justiceactioncenter.org        H. Tiffany Jang (BBO# 691380)
brandon.galli-graves@justiceactioncenter.org        ARNOLD & PORTER KAYE SCHOLER LLP
                                                    200 Clarendon Street, Fl. 53
                                                    Boston, MA 02116
Anwen Hughes (pro hac vice pending)                 Telephone: (617) 351-8053
HUMAN RIGHTS FIRST                                  tiffany.jang@arnoldporter.com
75 Broad St., 31st Fl.
New York, NY 10004
Telephone: (212) 845-5244                           Daniel B. Asimow (pro hac vice pending)
HughesA@humanrightsfirst.org                        ARNOLD & PORTER KAYE SCHOLER LLP
                                                    Three Embarcadero Center
                                                    10th Floor
                                                    San Francisco, CA 94111-4024
                                                    Telephone: (415) 471-3142
                                                    daniel.asimow@arnoldporter.com


                                                    Robert Stout (pro hac vice pending)
                                                    Sarah Elnahal (pro hac vice pending)
                                                    ARNOLD & PORTER KAYE SCHOLER LLP
                                                    250 West 55th Street
                                                    New York, NY 10019-9710
                                                    Telephone: (212) 836-8000
                                                    rob.stout@arnoldporter.com
                                                    sarah.elnahal@arnoldporter.com


                                                    Attorneys for Plaintiffs




                                               65
